Case 2:20-cv-10831-KK Document 23 Filed 12/01/21 Page 1 of 1 Page ID #:1143




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13                       CENTRAL DISTRICT OF CALIFORNIA
14   LETICHA HILL,                           )
                                             ) Case No. 2:20-cv-10831-KK
15
           Plaintiff,                        )
16                                           ) JUDGMENT OF REMAND
17                v.                         )
                                             )
18   KILOLO KIJAKAZI,                        )
19   Acting Commissioner of                  )
     Social Security,                        )
20
                                             )
21         Defendant.                        )
22
23         The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
25   (“Stipulation to Remand”) lodged concurrently with the lodging of the within
26   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
27   DECREED that the above-captioned action is remanded to the Commissioner of
28   Social Security for further proceedings consistent with the Stipulation to Remand.

     DATED: December 1, 2021
                                     HON. KENLY KIYA KATO
                                     UNITED STATES MAGISTRATE JUDGE
